               Case 18-13623-ref                  Doc 17            Filed 07/16/18 Entered 07/16/18 15:44:45                                 Desc Main
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              Fill in this information to identify your case:

 Debtor 1                 Nicole Topaz Insabella-Sabo
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA, READING DIVISION

 Case number
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions.          11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

      Jeep                                                                                                                        11 USC § 522(d)(2)
      Wrangler 4WD
                                                                      $7,474.00                                    $3,775.00
      2008                                                                                   100% of fair market value, up to
      170000                                                                                  any applicable statutory limit
      Line from Schedule A/B: 3.1

      Jeep                                                                                                                        11 USC § 522(d)(5)
      Wrangler 4WD
                                                                      $7,474.00                                      $531.79
      2008                                                                                   100% of fair market value, up to
      170000                                                                                  any applicable statutory limit
      Line from Schedule A/B: 3.1

      Jeep                                                                                                                        11 USC § 522(d)(5)
      Wrangler 4WD
                                                                      $7,474.00                                    $3,167.21
      2008                                                                                   100% of fair market value, up to
      170000                                                                                  any applicable statutory limit
      Line from Schedule A/B: 3.1

      Kitchen Furniture                                                                                                           11 USC § 522(d)(3)
      Line from Schedule A/B: 6.1
                                                                          $300.00                                    $300.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit




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     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Living room furniture                                                                                                  11 USC § 522(d)(3)
     Line from Schedule A/B: 6.2
                                                                      $300.00                                  $300.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Dining room furniture                                                                                                  11 USC § 522(d)(3)
     Line from Schedule A/B: 6.3
                                                                      $100.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Master bed room furniture                                                                                              11 USC § 522(d)(3)
     Line from Schedule A/B: 6.4
                                                                      $400.00                                  $400.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Other bed rooms furniture                                                                                              11 USC § 522(d)(3)
     Line from Schedule A/B: 6.5
                                                                       $75.00                                   $75.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Patio furniture                                                                                                        11 USC § 522(d)(3)
     Line from Schedule A/B: 6.6
                                                                       $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Tools and lawn equioment                                                                                               11 USC § 522(d)(3)
     Line from Schedule A/B: 6.7
                                                                      $300.00                                  $150.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Books, pictures                                                                                                        11 USC § 522(d)(3)
     Line from Schedule A/B: 6.8
                                                                       $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Tvs (2)                                                                                                                11 USC § 522(d)(3)
     Line from Schedule A/B: 7.1
                                                                      $200.00                                  $200.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     DVD player                                                                                                             11 USC § 522(d)(3)
     Line from Schedule A/B: 7.2
                                                                       $40.00                                   $40.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Electronic Game System                                                                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 7.3
                                                                       $40.00                                   $40.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Computer and equipment                                                                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 7.4
                                                                       $80.00                                   $80.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Clothing                                                                                                               11 USC § 522(d)(3)
     Line from Schedule A/B: 11.1
                                                                      $100.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit


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     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Engagement ring, miscellanous                                                                                          11 USC § 522(d)(4)
     costume jewelry
                                                                      $500.00                                  $500.00
     Line from Schedule A/B: 12.1                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Cash on hand                                                                                                           11 USC § 522(d)(5)
     Line from Schedule A/B: 16.1
                                                                         $3.00                                    $3.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Lehigh Valley Education Credit                                                                                         11 USC § 522(d)(5)
     Union
                                                                      $686.19                                  $686.19
     Line from Schedule A/B: 17.1                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Lehigh Valley Educators Credit                                                                                         11 USC § 522(d)(5)
     Union
                                                                         $2.62                                    $2.62
     Line from Schedule A/B: 17.2                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Lehigh Valley Educators Credit                                                                                         11 USC § 522(d)(5)
     Union
                                                                         $6.63                                    $6.63
     Line from Schedule A/B: 17.3                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Lehigh Valley Educators Credit                                                                                         11 USC § 522(d)(5)
     Union
                                                                       $17.39                                   $17.39
     Line from Schedule A/B: 17.4                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




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